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Sheet l , (NOTE: Identify Changes with Asterisks (*))

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m ii O§W UNITED STATES DISTRICT CoURT

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wEsTEaN D\STRICT OF LOU!SIA A WESTERN District of LOUISIANA
ALE)U\[‘€DFHAl LOU|S|:§.NA
UNITED STATES OF AMERICA AMENDED JUDGMENT IN A CRIMINAL CASE
V_ (For Organizational Defendants)
WOOD GROUP P S N INC. CASE NUMBER: 6:l6-CR-OOl45-()l

Date of Original Judgment: 2/23/2017 Nadira Clarke, Lily Chin, Glen Donath & William Gibbens
(or Date of Last Amended Judgment) Defendant Organization’s Attomey
Reason for Amendment:
|:| Correction of Sentence on Remand (18 U.S.C. § 3742(6(1) and (2)) § Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
j:l Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b)) |:| Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 35 83(e))
j:j Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a)) |:| Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT ORGANIZATION:
IX| pleaded guilty to count(s) one

Ej pleaded nolo contendere to count(s)
which Was accepted by the court.

 

l:j was found guilty on count(s)
after a plea of not guilty.

 

The organizational defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18: 1001.F Statements or Entries General-False Writing or Documents 7/14/2014 I
The defendant organization is sentenced as provided in pages 2 through 5 of this judgment

j:j The defendant organization has been found not guilty on count(s)

\:j Count(s) l:| is j:l are dismissed on the motion of the United States.

 

 

lt is ordered that the defendant organization must notify the United States attorney for this district within 30 days of any change of
name, principal business address, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant organization must notify the court and United States attorney of material changes in
economic circumstancesl

Defendant Organization’s

 

 

Federal Employer l.D. No.: 2/23/2017
Date of Imposition of Jud mcf `_'
Defendant Organization’s Principal Business Address: / ''''' MNQ/
§ \ 1111 y

 

 

Signature of Judge

 

 

DEE D. DRELL, Unites States District Judge
Name and Title of Judge

Defendant Organization’s Mailing Address: ` /7/ / d
' /

Date

 

 

 

 

 

 

 

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AO 245F (Rev. 12/03) Amended Judgment in a Cn'minal Case for Organizational Defendants

Sheet 2 _ Probation (NOTE: Identify Changes with Asterisks (*))

 

Judgment_Page 2 of 5

 

DEFENDANT ORGANIZATION: WOOD GROUP P S N INC.
CASE NUMBER: 6:l6-CR-OOl45-Ol

PROBATI()N

The defendant organization is hereby sentenced to probation for a term of:
3 years, to run concurrently with case number 6:16-cr-00192-01

The defendant organization shall not commit another federal, state or local crime.

If this judgment imposes a fine or a restitution obligation, it is be a condition of probation that the defendant organization
pay in accordance with the Schedule of Payments sheet of this judgment

The defendant organization must comply With the standard conditions that have been adopted by this court as well as with any

additional conditions below or on the attached page (if indicated below).

1)
2)
3)

4)
5)

6)

7)

STANDARD CONDITIONS OF SUPERVISION

within thirty days from the date of this judgment, the defendant organization shall designate an official of the organization to act as
the organization’s representative and to be the primary contact with the probation officer;

the defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

the defendant organization shall notify the probation officer at least ten days prior to any change in principal business or mailing
address;

the defendant organization shall permit a probation officer to visit the organization at any of its operating business sites;

the defendant organization shall notify the probation officer within seventy-two hours of any criminal prosecution, major civil
litigation, or administrative proceeding against the organization;

the defendant organization shall not dissolve, change its name, or change the name under which it does business unless this judgment
and all criminal monetary penalties imposed by this court are either fully satisfied or are equally enforceable against the defendant’s
successors or assignees; and

the defendant organization shall not waste, nor without permission of the probation officer, sell, assign, or transfer its assets.

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AO 245F (Rev. 12/03) Amended Judgment in a Criminal Case for Organizational Defendants
Sheet ZB »- Probation (NOTE: Identify Changes with Asterisks (*))

 

Judgment_Page 3 of 5

DEFENDANT ORGANIZATION: WOOD GROUP P S N INC.
CASE NUMBER: 6:16~CR-00145-Ol

SPECIAL CONDITIONS OF SUPERVISION

l. The company agrees that it shall not commit any further criminal violations, including those federal laws and regulations for
which primary enforcement has been delegated to state authorities.
2. Wood Group PSN, Inc. shall enter into a compliance agreement with the Environmental Protection Agency (EPA) and the

Department of Interior (DOI) for the durations of the probationary period. As part of the compliance agreement, Wood Group PSN, Inc.
agrees to make restitution owed to its customers due to its failure to inspect facilities, pursuant to its obligations.

3. The company shall notify the Probation Officer within 72 hours of any criminal prosecution against it or knowledge by an
executive officer of any referral for potential criminal prosecution and any issues with violation of agreement. The company shall also
report any incidents of non-compliance

4. The company shall designate an official of the organization to act as the organization’s representative and to be the primary
contact with the U. S. Probation Office.

5. The company shall provide written notice to the government, BSEE, and the U. S. Probation Office ten days prior to any of the
following: (i) any change in its corporate name, (ii) any change in the principal business location or mailing address.

6. No change in name, business reorganization, bankruptcy, change in ownership or control of the company, merger, change in legal
status, purchase of assets, or similar action shall alter or diminish the company’s obligations under this probationary period. The company
further agrees that it will not engage in any business reorganization, transfer of ownership, corporate dissolution, or other business
practice, including the sale or transfer of assets, in order to avoid the obligations set forth in this judgment

7. Wood Group PSN, Inc. shall pay $500,000.00 in community service according to the joint proposed community service plan.
Wood Group PSN, Inc. shall not seek to have payment of community service considered tax deductible, nor shall it make any public
statements classifying said payments as voluntary contributions, nor will it see to gain any benefit in other claims or litigation.

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AO 245F (Rev. 12/03) Amended Judgment in a Cn'minal Case for Organizational Defendants
Sheet 3 _ Criminal Monetary Penalties (NOTE: Identify Changes with Asterisks (*))

Judgment _- Page 4 of 5
DEFENDANT ORGANIZATION: WOOD GROUP P S N INC.

CASE NUMBER: 6:16-CR-00145-01

CRIMINAL MONETARY PENALTIES

The defendant organization must pay the following total criminal monetary penalties under the schedule of payments on Sheet 4.

Assessment Fine Restitution
TOTALS $ 400.00 $ *7,000,000.00 $
|:j The determination of restitution is deferred until . An Amended Judgment in a Criml'nal Case (AO 245C) will be

entered after such determination

j:j The defendant organization shall make restitution (including community restitution) to the following payees in the amount listed
below.

lf the defendant organization makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all
nonfederal victims must be paid before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ $

j:j Restitution amount ordered pursuant to plea agreement $

j:] The defendant organization shall pay interest on restitution or a fine of more than $2,500, unless the restitution or fine is paid in full
before the fiheenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 4
may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Kl The court determined that the defendant organization does not have the ability to pay interest, and it is ordered that:

the interest requirement is waived for the |X] fine gi restitution.
l:j the interest requirement for the j:j fine [:l restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before Apri123, 1996.

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AO 245F (Rev. 12/03) Amended Judgment in a Criminal Case for Organizational Defendants
Sheet 4 _ Schedule of Payments (NOTE: Identify Changes with Asterisks (*))

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DEFENDANT ORGANIZATION: WOOD GROUP P S N INC
CASE NUMBER: 6:16~CR-00145-01

SCHEDULE OF PAYMENTS

Having assessed the organization’s ability to pay, payment of the total criminal monetary penalties are be due as follows:
A ig Lump sum payment of $ 7,000,400.00 due immediately, balance due

j:j not later than , or

j:j in accordance with j C or D below; or

Payment to begin immediately (may be combined with j:\ C or jj D below; or

Payment in (e.g., equal, weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

Otd
|:ll:lE

U

Special instructions regarding the payment of criminal monetary penalties:

All criminal monetary penalties are made to the clerk of the court.

The defendant organization shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

l____j Joint and Several

Defendant and Co-Defendant Names and Casc Numbers (including defendant numbers), Total Amount, Joint and Several Amount, and
corresponding payee, if appropriate:

The defendant organization shall pay the cost of prosecution.

The defendant organization shall pay the following court cost(s):

l:lEl:l

The defendant organization shall forfeit the defendant organization’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

